Case 4:19-cr-00172-RGE-HCA Document 91 Filed 01/06/21 Page 1 of 14

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF IOWA

)
UNITED STATES OF AMERICA, ) Criminal No. 4:19-CR-172
)
Vv. )
) PLEA AGREEMENT
JESSICA RAE REZNICEK, )
)
Defendant. )
)

The United States of America (also referred to as “the Government”),
Defendant, JESSICA RAE REZNICEK, and Defendant’s attorney, enter into this
Plea Agreement.

A. CHARGES

1. Subject Offense. Defendant will plead guilty to Count 1 of the
Indictment, that is, Conspiracy to Damage an Energy Facility, in violation of Title
18, United States Code, Section 1366(a).

2, Charges Being Dismissed. If the Court accepts this Plea Agreement,
Counts 2, 3, 4, 5, 6, 7, 8, and 9 of the Indictment will be dismissed at the time of
sentencing.

3. No Further Prosecution. The Government agrees that Defendant will
not be charged in the Southern District of Iowa with any other federal criminal
offense arising from or directly relating to this investigation. This paragraph and
this Plea Agreement do not apply to (1) any criminal act occurring after the date of

this agreement; (2) any crime of violence; or (8) any criminal offense which Defendant
Case 4:19-cr-00172-RGE-HCA Document 91 Filed 01/06/21 Page 2 of 14

did not fully disclose to law enforcement during Defendant’s interviews pursuant to
any proffer or other agreements with the United States.
B. MAXIMUM PENALTIES

4, Maximum Punishment. Defendant understands that the crime to
which Defendant is pleading guilty carries a maximum sentence of 20 years in prison;
a maximum fine of $250,000; and a term of supervised release of not more than 3
years. A mandatory special assessment of $100 per count must also be imposed by
the Court.

5. Supervised Release--Explained. Defendant understands that, during
any period of supervised release or probation, Defendant will be under supervision
and will be required to comply with certain conditions. If Defendant were to violate a
condition of supervised release, Defendant could be sentenced to not more than two
(2) years in prison, without any credit for time previously served.

6. Detention. Provided that Defendant does not violate any conditions of
Defendant’s pretrial release, and does not appear to be mentally at risk to harm
herself or any other person, the Government agrees to recommend that Defendant
may remain on pretrial release pending imposition of sentence.

C. NATURE OF THE OFFENSE — FACTUAL BASIS
7. Elements Understood. Defendant understands that to prove the

offense alleged under Count 1 (Conspiracy to Damage an Energy Facility), the
Case 4:19-cr-00172-RGE-HCA Document 91 Filed 01/06/21 Page 3 of 14

Government would be required to prove beyond a reasonable doubt the following

elements:

(a)

(b)

(c)

(d)

On or about the dates charged, two or more persons reached an
agreement or came to an understanding to knowingly and
willfully damage the property of an energy facility;

The defendant voluntarily and intentionally joined the agreement
or understanding, either at the time it was made, or at some later
time while it was still in effect; and

At the time the defendant joined the agreement or understanding,
she knew the purpose of the agreement or understanding was to
damage the property of an energy facility; and

The amount of actual damage to the energy facility exceeds
$100,000, or would have exceeded $100,000 if the object of the
conspiracy had been achieved; or conspires to damage the
property of an energy facility in any amount, and conspires to
cause a significant interruption or impairment of a function of an
energy facility.

8. Factual Basis. As a factual basis for Defendant’s plea of guilty,

Defendant admits the following:

(a)

(b)

(c)

At least as early as November 8, 2016, and continuing until May
2, 2017, Defendant and others reached an agreement and came to
an understanding to knowingly and willfully damage the property
of an energy facility. Specifically, Defendant and another person
or persons agreed to damage the Dakota Access Pipeline at
several sites in the Southern District of Iowa, the Northern
District of Iowa, and the District of South Dakota.

Defendant willfully and intentionally joined the agreement and
understanding at the time it was made.

At the time Defendant joined the agreement and understanding,
she knew the purpose of the agreement and understanding was
to damage the property of an energy facility, that is, the Dakota
Access Pipeline (DAPL).
Case 4:19-cr-00172-RGE-HCA Document 91 Filed 01/06/21 Page 4 of 14

(dq) In furtherance of this conspiracy, Defendant knowingly and
willfully committed and conspired to commit acts that damaged
or attempted to damage property of the DAPL, including but not
limited to the following:

(i) On or about March 13, 2017, Defendant utilized an oxy-
acetylene cutting torch to penetrate the pipeline located at
DAPL Valve Site 430 in Mahaska County, in the Southern
District of Iowa.

(ii) On or about March 18, 2017, Defendant utilized an oxy-
acetylene cutting torch to attempt to penetrate the pipeline
of a DAPL Valve Site in Boone County, in the Southern
District of Iowa.

Gii) Onor about April 9, 2017, Defendant utilized an accelerant
and vehicle tires to set three separate fires near
instrumentation and electrical conduits in an attempt to
damage Valve Site 460 of the Dakota Access Pipeline in
Wapello County, in the Southern District of Iowa.

(iv) On or about May 2, 2017, Defendant utilized an oxy-
acetylene cutting torch to penetrate the pipeline at Valve
Site 460 of the Dakota Access Pipeline in Wapello County,
in the Southern District of Iowa.

(e) The actual and intended damage to the energy facility, that is,
the Dakota Access Pipeline, exceeded $100,000. Defendant
admits that the cost to repair damages caused by the conspiracy
was in excess of $1 million.

9. Truthfulness of Factual Basis. Defendant acknowledges that the above
statements are true. Defendant understands that, during the change of plea hearing,
the judge and the prosecutor may ask Defendant questions under oath about the
offense to which Defendant is pleading guilty, in the presence of Defendant’s attorney.
Defendant understands that Defendant must answer these questions truthfully, and

that Defendant can be prosecuted for perjury if Defendant gives any false answers.
Case 4:19-cr-00172-RGE-HCA Document 91 Filed 01/06/21 Page 5 of 14

10. Waiver of Rule 410 Rights. Defendant expressly waives Defendant’s
rights under Rule 410 of the Federal Rules of Evidence and agrees that all factual
statements made in this plea agreement, including under the Factual Basis or
Attachment A, are admissible against Defendant. Should Defendant fail to plead
guilty pursuant to this plea agreement or move to withdraw her plea or to set aside
Defendant’s conviction, then these admissions may be used against Defendant in the
Government’s case-in-chief and otherwise, including during the continuing
prosecution of this case.

11. Venue. Defendant agrees that venue for this case is proper for the

 

United States District Court for the Southern District of Iowa.
D. SENTENCING
12. Sentencing Guidelines. Defendant understands that Defendant’s
sentence will be determined by the Court after considering the advisory United States
Sentencing Guidelines, together with other factors set forth by law. The Sentencing
Guidelines establish a sentencing range based upon factors determined to be present
in the case, which include, but are not limited to the following:
(a) The nature of the offense to which Defendant is pleading guilty;
(b) The amount of loss, with the parties stipulating as a
recommendation to the District Court that the loss was at least

$550,000;

(c) Whether the offense involved or was intended to promote a
federal crime of terrorism pursuant to USSG § 3A1.4;

(d)  Defendant’s role in the offense;
Case 4:19-cr-00172-RGE-HCA Document 91 Filed 01/06/21 Page 6 of 14

(e) Whether Defendant attempted to obstruct justice in the
investigation or prosecution of the offense;

(f) The nature and extent of Defendant’s criminal history (prior
convictions); and

(g) Acceptance or lack of acceptance of responsibility.
Defendant understands that, under some circumstances, the Court may “depart” or
“yary” from the Sentencing Guidelines and impose a sentence more severe or less
severe than provided by the guidelines, up to the maximum in the statute of
conviction. Defendant has discussed the Sentencing Guidelines with Defendant’s
attorney.

13. Acceptance of Responsibility. The Government agrees to recommend
that Defendant receive credit for acceptance of responsibility under USSG §3E1.1.
The Government reserves the right to oppose a reduction under §3E1.1 if after the
plea proceeding Defendant obstructs justice, fails to cooperate fully and truthfully
with the United States Probation Office, attempts to withdraw Defendant’s plea, or
otherwise engages in conduct not consistent with acceptance of responsibility. Ifthe
base offense level is 16 or above, as determined by the Court, the Government agrees
that Defendant should receive a 3-level reduction, based on timely notification to the
Government of Defendant’s intent to plead guilty.

14.  Presentence Report. Defendant understands that the Court may defer
a decision as to whether to accept this Plea Agreement until after a Presentence
Report has been prepared by the United States Probation Office, and after

Defendant’s attorney and the Government have had an opportunity to review and

6
Case 4:19-cr-00172-RGE-HCA Document 91 Filed 01/06/21 Page 7 of 14

challenge the Presentence Report. The parties are free to provide all relevant
information to the Probation Office for use in preparing a Presentence Report.

15. Disclosure of Presentence Investigation Reports. The United States
District Court for the Southern District of Iowa has issued the following
Administrative Order:

The presentence investigation report is a sealed and confidential document.

Unless specifically authorized by the district court, a defendant may not

disseminate, disclose, or distribute a presentence investigation report, or any

part or page of a presentence investigation report, in either draft or final form.

A defendant who violates this order, may be subject to prosecution for contempt

of court under 18 U.S.C. § 401(8). This order does not apply to a defendant’s

review of a presentence investigation report with the defendant’s own attorney.
Defendant acknowledges and understands this order.

16. Evidence atSentencing. The parties may make whatever comment and
evidentiary offer they deem appropriate at the time of sentencing and entry of plea,
provided that such offer or comment does not violate any other provision of this Plea
Agreement. Nothing in this Plea Agreement restricts the right of Defendant or any
victim to make an allocution statement, to the extent permitted under the Federal
Rules of Criminal Procedure, nor does this Plea Agreement convey any rights to
appear at proceedings or make statements that do not otherwise exist.

17. Sentence to be Decided by Judge -- No Promises. This Plea Agreement
is entered pursuant to Rule 11(c)(1)(A) and 11(¢)(1)(B) of the Federal Rules of
Criminal Procedure. Defendant understands that the final sentence, including the

application of the Sentencing Guidelines and any upward or downward departures,

is within the sole discretion of the sentencing judge, and that the sentencing judge is

7
Case 4:19-cr-00172-RGE-HCA Document 91 Filed 01/06/21 Page 8 of 14

not required to accept any factual or legal stipulations agreed to by the parties. Any
estimate of the possible sentence to be imposed, by a defense attorney or the
Government, is only a prediction, and not a promise, and is not binding. Therefore,
it is uncertain at this time what Defendant’s actual sentence will be.

18. No Right to Withdraw Plea. Defendant understands that Defendant
will have no right to withdraw Defendant’s plea if the sentence imposed, or the
application of the Sentencing Guidelines, is other than what Defendant anticipated,
or if the sentencing judge declines to follow the parties’ recommendations.

E. FINES, COSTS, AND RESTITUTION

19. Fines and Costs. Issues relating to fines and/or costs of incarceration
are not dealt with in this agreement, and the parties are free to espouse their
respective positions at sentencing.

20. Special Assessment. Defendant agrees to pay the mandatory special
assessment of $100 ($100 per count) at or before the time of sentencing, as required
by 18 U.S.C. § 3013.

21. Restitution. Defendant agrees that the Court should impose an order
of restitution for all relevant conduct in an amount to be determined by the Court;
that such order of restitution shall be due and payable immediately; and that if
Defendant is not able to make full payment immediately, Defendant shall cooperate
with the United States Probation Office in establishing an appropriate payment plan,
which shall be subject to the approval of the Court, and thereafter in making the

required payments. Any such payment plan does not preclude the Government from

8
Case 4:19-cr-00172-RGE-HCA Document 91 Filed 01/06/21 Page 9 of 14

utilizing any collections procedures pursuant to the Federal Debt Collections Act and
including the Treasury offset program.

22. Financial Statement. Defendant agrees to complete truthfully and in
full a financial statement provided by the U.S. Attorney’s Office, and return the
financial statement to the U.S. Attorney’s Office within 30 days of the filing of this
Plea Agreement.

F. LIMITED SCOPE OF AGREEMENT

23. Limited Scope of Agreement. This Plea Agreement does not limit, in
any way, the right or ability of the Government to investigate or prosecute Defendant
for crimes occurring outside the scope of this Plea Agreement. Additionally, this
Plea Agreement does not preclude the Government from pursuing any civil or
administrative matters against Defendant, including, but not limited to, civil tax
matters and civil forfeiture which arise from, or are related to, the facts upon which
this investigation is based.

24. Agreement Limited to Southern District of lowa. This Plea Agreement
is limited to the United States Attorney’s Office for the Southern District of lowa, and
cannot bind any other federal, state or local prosecuting, administrative, or
regulatory authorities.

25. Energy Transfer Partners not a party to this Agreement. Defendant
understands that Energy Transfer Partners is not a party to this Plea Agreement,
and that the “loss” and “restitution” amounts applicable to this criminal case do not

resolve any claims that Energy Transfer Partners may have against Defendant.

9
Case 4:19-cr-00172-RGE-HCA Document 91 Filed 01/06/21 Page 10 of 14

Defendant understands that Energy Transfer Partners remain free to pursue all
lawful civil remedies it may deem appropriate.
G. WAIVER OF TRIAL, APPEAL AND POST-CONVICTION RIGHTS

26. Trial Rights Explained. Defendant understands that this guilty plea
waives the right to:

(a) Continue to plead not guilty and require the Government to prove
the elements of the crime beyond a reasonable doubt;

(b) A speedy and public trial by jury, which must unanimously find
Defendant guilty before there can be a conviction;

(c) The assistance of an attorney at all stages of trial and related
proceedings, to be paid at Government expense if Defendant
cannot afford to hire an attorney;

(d) Confront and cross-examine adverse witnesses;

(e) Present evidence and to have witnesses testify on behalf of
Defendant, including having the Court issue subpoenas to compel
witnesses to testify on Defendant’s behalf;

(f) Not testify or have any adverse inferences drawn from the failure
to testify (although Defendant also has the right to testify, if
Defendant so chooses); and

(g) If Defendant is convicted, the right to appeal, with the assistance
of an attorney, to be paid at Government expense if Defendant
cannot afford to hire an attorney.

27. Waiver of Appeal and Post-Conviction Review. Defendant knowingly
and expressly waives any and all rights to appeal Defendant’s conviction in this case,
including a waiver of all motions, defenses and objections which Defendant could
assert to the charge, or to the Court’s entry of judgment against Defendant; except

that both Defendant and the United States preserve the right to appeal any sentence

10
Case 4:19-cr-00172-RGE-HCA Document 91 Filed 01/06/21 Page 11 of 14

imposed by the Court, to the extent that an appeal is authorized by law. Also,
Defendant knowingly and expressly waives any and all rights to contest Defendant’s
conviction and sentence in any post-conviction proceedings, including any
proceedings under 28 U.S.C. § 2255. These waivers are full and complete, except
that they do not extend to the right to appeal or seek post-conviction relief based on
grounds of ineffective assistance of counsel or prosecutorial misconduct.

H. VOLUNTARINESS OF PLEA AND OPPORTUNITY TO CONSULT
WITH COUNSEL

28.  Voluntariness of Plea. Defendant represents that Defendant’s decision
to plead guilty is Defendant’s own, voluntary decision, and that the following is true:
(a) Defendant has had a full opportunity to discuss all the facts and
circumstances of this case with Defendant’s attorney, and
Defendant has a clear understanding of the charges and the
consequences of this plea, including the maximum penalties
provided by law.
(b) Noone has made any promises or offered any rewards in return
for this guilty plea, other than those contained in this written

agreement.

(c) Noone has threatened Defendant or Defendant’s family to induce
this guilty plea.

(d) Defendant is pleading guilty because in truth and in fact
Defendant is guilty and for no other reason.

29. Consultation with Attorney. Defendant has discussed this case and
this plea with Defendant’s attorney and states that the following is true:

(a) Defendant states that Defendant is satisfied with the
representation provided by Defendant’s attorney.

11
Case 4:19-cr-00172-RGE-HCA Document 91 Filed 01/06/21 Page 12 of 14

(b) Defendant has no complaint about the time or attention
Defendant’s attorney has devoted to this case nor the advice the
attorney has given.

(c) Although Defendant’s attorney has given Defendant advice on
this guilty plea, the decision to plead guilty is Defendant’s own
decision. Defendant’s decision to enter this plea was made after
full and careful thought, with the advice of Defendant’s attorney,

and with a full understanding of Defendant’s rights, the facts and
circumstances of the case, and the consequences of the plea.

I, GENERAL PROVISIONS

30. Entire Agreement. This Plea Agreement, and any attachments, is the
entire agreement between the parties. Any modifications to this Plea Agreement
must be in writing and signed by all parties.

31. Public Interest. The parties state this Plea Agreement is in the public
interest and it takes into account the benefit to the public of a prompt and certain
disposition of the case and furnishes adequate protection to the public interest and is
in keeping with the gravity of the offense and promotes respect for the law.

32. Execution/Effective Date. This Plea Agreement does not become valid
and binding until executed by each of the individuals (or their designated
representatives) shown below.

J. SIGNATURES

33. Defendant. I have read all of this Plea Agreement and have discussed
it with my attorney. I fully understand the Plea Agreement and accept and agree to
it without reservation. I do this voluntarily and of my own free will. No promises

have been made to me other than the promises in this Plea Agreement. I have not

12
Case 4:19-cr-00172-RGE-HCA Document 91 Filed 01/06/21 Page 13 of 14

been threatened in any way to get me to enter into this Plea Agreement. I am
satisfied with the services of my attorney with regard to this Plea Agreement and
other matters associated with this case. I am entering into this Plea Agreement and
will enter my plea of guilty under this Agreement because I committed the crime to
which I am pleading guilty. I know that I may ask my attorney and the judge any
questions about this Plea Agreement, and about the rights that I am giving up, before

entering into the plea of guilty.

\
Date ea ica Au oN () Leet.

34.  Defendant’s Attorney. I have 8 this Plea Agreement and have

 

discussed it in its entirety with my client. There is no Plea Agreement other than
the agreement set forth in this writing. My client fully understands this Plea
Agreement. Iam satisfied my client is capable of entering into this Plea Agreement,
and does so voluntarily of Defendant's own free will, with full knowledge of
Defendant’s legal rights, and without any coercion or compulsion. I have had full
access to the Government’s discovery materials, and I believe there is a factual basis

for the plea. I concur with my client entering into this Plea Agreement and in

   

entering a plea of guilty pursuant to the Plea Agreé

[le [oy
Date e anié S. Weiper

Attorney for Jessica Reznicek

 

Federal Public Defender’s Office

13
Case 4:19-cr-00172-RGE-HCA Document 91 Filed 01/06/21 Page 14 of 14

400 Locust Street

Suite 340

Des Moines, Iowa 50309
Telephone: 515-309-9610
Telefax: 515-309-9625

E-Mail: melanie_keiper@fd.org

35. United States. The Government agrees to the terms of this Plea

Agreement.

\ |e Jzoz | By:

 

Date

14

Marc Krickbaum
United States Attorney

<<], AXA
C7

Jason T. Griess

pane U.S. Attorney

U.S. Courthouse Annex, Suite 286
110 East Court Avenue

Des Moines, Iowa 50309
Telephone: 515-473-9300
Telefax: 515-473-9292

E-mail: Jason.Griess@usdoj.gov
